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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Amy Villeda,
as Personal Representative of the
Estate of Micah K. Pittman
                                                  Case No. 20-cv-1412 (WMW/DTS)
      Plaintiff,
                                                  PRETRIAL SCHEDULING ORDER
v.

Inland Marine Service, Inc.,

      Defendant.


      The following schedule will govern these proceedings unless modified pursuant to
Local Rule 16.3.

SUMMARY OF IMPORTANT DATES:

Initial Disclosure Deadline: October 19, 2020

Joinder and Amended Pleadings Deadline: Joinder: January 19, 2021;
                                        Amend: February 16, 2021

Fact Discovery Completion Deadline: July 30, 2021

Expert Deadlines
      Disclosures: P: August 17, 2021; D: September 15, 2021
      Depositions: December 30, 2021

Non-Dispositive Motion Deadline to Serve and File: August 3, 2021

Dispositive Motion Deadline to Serve and File, Schedule: January 14, 2022

INITIAL DISCLOSURES

       The parties must make their initial disclosures under Rule 26(a)(1) on or before
October 19, 2020. If a description by category and location of the documents is offered
pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), the party will provide a copy of their initial
disclosure documents by October 19, 2020.
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MOTIONS TO AMEND

    1.   Motions seeking to join other parties must be filed and served by
         January 19, 2021.

    2.   Motions seeking to amend the pleadings must be filed and served by
         February 16, 2021.

FACT DISCOVERY

    1.   Written Discovery

         A.      No more than a total of 40 interrogatories, counted in accordance
                 with Rule 33(a), shall be served by either side.

         B.      No more than 40 document requests shall be served by each party.
                 Objections to document requests must meet the requirements of
                 amended Rule 34(b)(2)(B).

         C.      No more than 50 requests for admissions shall be served by each
                 side.

    2.   No more than 15 factual depositions, excluding expert witness depositions,
         shall be taken by each side.

    3.   The parties agree that no Rule 35 Medical examination(s) are needed.

    4.   The parties must commence fact discovery procedures in time to be
         completed on or before July 30, 2021.

EXPERT DISCOVERY

    1.   Each party may call no more than 3 expert(s) to testify.

    2.   Disclosure of the identities of expert witnesses under Rule 26(a)(2)(A), the
         full disclosures required by Rule 26(a)(2)(B) (including the written report
         prepared and signed by each expert witness), and the full disclosures
         required by Rule 26(a)(2)(C), shall be made as follows:

         Identification and Rule 26(a)(2)(B) and 26(a)(2)(C) disclosures by Plaintiff
         on or before August 17, 2021.

         Identification and Rule 26(a)(2)(B) and 26(a)(2)(C) disclosures by
         Defendant on or before Septembr 15, 2021.

    3.   All expert discovery, including expert depositions, must be completed by
         December 30, 2021.


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PRESERVATION OF DOCUMENTS AND ELECTRONIC DISCOVERY

      The parties have discussed the scope of discovery, including relevance and
proportionality and any issues about preserving discoverable information. The parties
have also discussed electronic discovery and agree upon the following:

        The parties will further discuss a plan and protocol for any electronic discovery and
any preservation issues before January 5, 2021, and will present any disputes regarding
their plan and protocol and any preservation issues to the Court by February 9, 2021 by
letter. The parties are advised that an electronic discovery guide is available on the
Court’s website.

NON-DISPOSITIVE MOTIONS

A.     Dates

       1.      All non-dispositive motions relating to fact discovery must be filed and
               served by August 3, 2021.

       2.      All other non-dispositive motions, including motions relating to expert
               discovery, must be filed and served by December 30, 2021.

B.     General Procedures

        All non-dispositive motions must be scheduled for hearing by calling Terianne
Bender, Judicial Assistant to Magistrate Judge Schultz at 612-664-5460, prior to filing,
except when all parties agree that no hearing is required. Such an agreement must be
expressly set forth in the notice of motion. Once the moving party has secured a hearing
date, it must promptly file a notice of motion informing all parties of the nature of the
motion and the date, time and location of the hearing, along with complete moving papers
as required by Local Rule 7.1. A moving party may not call chambers to “hold” a motion
date without filing complete moving papers as required by Local Rule 7.1 unless it
receives prior permission from the Court.

      Counsel may not notice additional motions for hearing on an already existing
hearing date without first contacting the Court for permission. All motions must be filed
and served within the time periods set forth in this Order and the Local Rules.

C.     Special Procedures for Discovery Motions

        Discovery disputes will not be heard unless the parties have first met and conferred
either in-person, telephonically, or by video and made a good-faith effort to settle their
dispute, pursuant to revised Local Rule 7.1. If the parties are unable to resolve the
dispute after good-faith efforts, the party raising the unresolved issue must first
arrange a telephone conference with Magistrate Judge Schultz before filing a
formal motion. No filings on discovery motions will be considered by the Court until the
Court has first addressed the matter via conference call.

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       If a discovery motion is related to written discovery or the contents of depositions,
the parties must fill out a chart (attached) that describes each disputed discovery request
and response; each party’s position, and the moving party’s last offered compromise. This
chart must be in Word format and emailed at least three business days before the hearing
to chambers at: Schultz chambers@mnd.uscourts.gov. Failure to provide this chart to
the Court as required by this scheduling order shall result in the cancellation of the
hearing.

DISPOSITIVE MOTIONS

        All dispositive motions shall be filed, served, and scheduled on or before
January 14, 2022. Counsel shall first schedule the hearing at least 42 days in the future
by calling District Judge Wright’s Courtroom Deputy, Mona Eckroad, at 651-848-1640.
After the moving party has secured a hearing date, the moving party shall promptly inform
all parties of the nature of the motion and the date, time, and location of the hearing.

       All dispositive motions shall be filed and served in compliance with the Electronic
Case Filing Procedures for the District of Minnesota and in compliance with Local
Rule 7.1, except that any reply memorandum or notice stating that no reply will be filed
must be filed and served within 7 days after the filing of any response. When a motion,
response or reply brief is filed on ECF, two paper courtesy copies of the pleading and all
supporting documents shall be mailed to Courtroom Deputy Mona Eckroad or delivered
to the clerk of courts.

      Parties are expected to be familiar with and adhere to the Federal Rules, the Local
Rules, and any supplementation of those rules outlined in Judge Wright’s Practice
Pointers and Preferences, available on the District of Minnesota website.

        Notwithstanding the foregoing, no party shall bring a dispositive motion pursuant
to Fed. R. Civ. P. 56 while formal discovery is ongoing without first obtaining permission
from the undersigned magistrate judge. Permission shall be sought by electronically filing
via CM/ECF a letter of no more than three (3) pages briefly setting forth the basis for the
motion, whether discovery relating to the issue or issues to be addressed by the motion
is complete, and why judicial efficiency would be served by allowing the motion to proceed
at this time. The other party or parties may file brief letters in support of or in response to
the request. Denial of a request for permission to file an interim dispositive motion shall
not be taken as an indication of the Court’s view about the merits of the proposed motion.

PROTECTIVE ORDER

       The parties intend to enter into a protective order. In the interim, any documents
that any producing party believes should be governed by a protective order shall be
produced to opposing counsel for the attorney’s review only and shall not be withheld on
the basis that no protective order is yet in place. After the protective order is entered, the
producing party must designate the documents under the protective order. Local Rule 5.6
governs filing under seal. Any proposed protective order must include the following

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provisions: All counsel acknowledge they have reviewed Local Rule 5.6 which governs
filing under seal, which procedures are incorporated herein by reference.

JOINT MOTIONS REGARDING CONTINUED SEALING PURSUANT TO LR 5.6

       A document will be sealed in a civil case “only as provided by statute or rule, or
with leave of court.” LR 5.6(a)(1). The fact that a document may be subject to a protective
order—for example, that a party designated it “confidential” under a protective order—is
not dispositive of whether the Court will order it to remain sealed. Simply stating that a
party designated it confidential, without more, is not an adequate reason or explanation
within the meaning of LR 5.6(d(2)(A) to support a request that the Court order the
document to remain sealed. A party must briefly explain the underlying reason that the
particular information should remain sealed and unavailable to the public. If the reason is
not a commonly recognized one, or there is a statute or regulation that requires the
information to be withheld from the public, the party must identify it and briefly explain
how the information falls under the statute or rule.

TRIAL

         This case shall be ready for jury trial as of May 16, 2022. The parties estimate that
trial of this matter will take 5 days.

PRACTICE POINTERS AND PREFERENCES

      Please refer to Magistrate Judge David T. Schultz’s Practice Pointers and
Preferences which may be found on the Court’s website.

Dated: September 14, 2020                                __s/David T. Schultz___
                                                         DAVID T. SCHULTZ
                                                         United States Magistrate Judge




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